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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

CONRAY CARROLL                                                                PETITIONER
ADC #110901

V.                          CASE NO. 4:20-CV-531-BRW-BD

DEXTER PAYNE, Director,
Arkansas Department of Correction                                           RESPONDENT

                                       JUDGMENT

       Consistent with the Order that was entered today, it is CONSIDERED, ORDERED, and

ADJUDGED that Conray Carroll’s petition for writ of habeas corpus (Doc. No. 2) is hereby

DISMISSED, WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 29th day of May, 2020.



                                              Billy Roy Wilson
                                              UNITED STATES DISTRICT JUDGE




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